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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


HERITAGE FOUNDATION, et al,

              Plaintiffs,

      v.                                              Civil Action No. 1:23-cv-01198 (CJN)

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY,

              Defendant.


                                              ORDER

       Pending before the Court in this case under the Freedom of Information Act (FOIA), 5

U.S.C. § 552, are the Parties’ Motions for Summary Judgment. See generally Def.’s Mot for

Summ. J., ECF No. 23; Pls.’ Cross-Mot. for Summ. J., ECF No. 26. Plaintiffs challenge DHS’s

decision to withhold responsive records under FOIA Exemptions 6, 7(C) and 7(E). See ECF No.

26-1 at 10-12, 19. DHS submitted three declarations explaining its search methodology and

justification for withholding the records. See generally Jarrod Panter’s Decl., ECF No. 23-3;

Shari Suzuki’s Decl., ECF No. 23-5; Catrina Pavlik-Keenan’s Decl., ECF No. 23-8.

       FOIA authorizes the Court to review declarations and/or contested records in camera “to

determine whether such records or any part thereof shall be withheld under any of the

exemptions” contained within the statute. 5 U.S.C. § 552(a)(4)(B). “[I]n camera inspection may

be particularly appropriate when . . . agency affidavits are insufficiently detailed to permit

meaningful review of exemption claims . . . , when the number of withheld documents is

relatively small, and when the dispute turns on the contents of the withheld documents, and not




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the parties’ interpretations of those documents.” Spirko v. U.S. Postal Serv., 147 F.3d 992, 996

(D.C. Cir. 1998) (internal quotation omitted).

       Having reviewed the Parties’ written submissions and heard oral argument on the

Motions, the Court concludes that in camera review is necessary to determine whether the

records in dispute come within the scope of the claimed exemptions. It is therefore

       ORDERED that, on or before March 21, 2024, Defendant shall submit to the Court in

camera a declaration or declarations that detail, with particularity, the records it is withholding

and the particular harm that would arise from public disclosure of them. Defendant may

supplement its declarations with any materials it deems appropriate. Defendant shall contact the

Court to determine the preferred method of delivery and arrangements for returning the materials

once the Court concludes its review.


DATE: March 7, 2024
                                                              CARL J. NICHOLS
                                                              United States District Judge




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